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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


                                                   )
  IN RE AEGEAN MARINE                              )           Case No. 18-cv-04993 (NRB)
  PETROLEUM NETWORK, INC.                          )
  SECURITIES LITIGATION                            )           Hon. Naomi Reice Buchwald
                                                   )
                                                   )



                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, and to enable Judges and Magistrate

Judges of the Court to evaluate possible disqualification or recusal, the undersigned counsel for

Defendant Deloitte Touche Tohmatsu Limited (a private, non-governmental party) represents

that Deloitte Touche Tohmatsu Limited has no publicly held corporate parents, affiliates and/or

subsidiaries.



Dated: June 19, 2019                                   Respectfully Submitted,

                                                       /s/ Melissa Colón-Bosolet                .
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                                                       Tohmatsu Limited
